Case 1:13-md-02419-RWZ Document 1258-15 Filed 07/10/14 Page 1 of 2

Exhibit 15
Case 1:13-md-02419-RWZ Document 1258-15 Filed 07/10/14 Page 2 of 2

SOSED JOO JEU] (Pp)
Jno-+ jo sjeuy yonpuoy

sjeld| Jayjomiiog

pau

aq |JIM S8SED |00g
JeUL yenluy ay) YIM
Ul JOPIO 84} 18S

(BOSEY |O0dg
jeu] jenlul, se soseg
(7) Jno pE]EaS

<—

SOSED [O0"”d JeUL
jel}yu] 10} suolpsodaq
yedxy ol0eds-asen

SOSED [00d JEW] Jeylu|
JO} suolisodagq sseuL/|,
poe o1l0adsg-esey

S9SeD |O0d
Jel E seul Jo Ausaoosiq
Ud} oyloeds-esen

Aisaoosig
oyloedg-asey

(S2SeD
JOod Jel) emul,
9] a]ag seed

UND }N}SIG NL
0} puewsay Japisuoy

uoelpea|y
ol9edS-N 1 Jeplsuog

<—

suolyisodaq
yedxy uowwoy

suOo!Iisodaq SSouLAA
yoe4 uowwoy

AlsA00SI1G
Ud} AA UOWLUOD

SUO AYO MNUIe|¢

SOINSO}OSIC] [elu]

Aisaoosiq uowwoy

JESOdOdd JOYJOMj/9g/AISAOISIC ,S}JUBPUSJOQ IIUl|D 9eSSOUUD] JO Mal/ jeNnjdoou0D

